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December 30, 2022


Via ECF

Honorable David S. Jones
United States Bankruptcy Court
Southern District of New York
One Bowling Green, Courtroom 501
New York, NY 1004-1408


         Re:      In re Ascentra Holdings, Inc. (In Official Liquidation), Case No. 21-11854
                  Second Letter to Court Re Status Report

To the Honorable David S. Jones:

        I write on behalf of Graham Robinson and Ivy Chua (the “Liquidators” or “Foreign
Representatives”), the duly appointed joint official liquidators and foreign representatives of
Ascentra Holdings, Inc. (in Official Liquidation) (“Ascentra”) in the above-referenced case and
submit this letter pursuant to the Court’s Scheduling Order [ECF No. 23], directing the Foreign
Representatives to file a status report on or before the last business day in June and December, in
the form of a letter to the Court stating: (a) the procedural status of the instant case and the Cayman
Proceeding (defined below); (b) the nature of the activities in the instant case and the Cayman
Proceeding; and (c) what is anticipated in the ensuing six months.

        On June 30, 2022, the Foreign Representatives filed their initial status report [ECF No. 26].
As stated therein, Ascentra operated an e-commerce business that sold health and beauty products
in Hong Kong and the People’s Republic of China (the “PRC”). Ascentra was beneficially owned
by various former senior management, including Martin Matthews, and directors of the company,
Yoshio Matsuura (“Matsuura”) and Ryunosuke Yoshida (“Yoshida”). Matsuura and Yoshida
were displaced by the Liquidators upon their appointment by the Grand Court of the Cayman
Islands.

         On June 1, 2021, Ascentra was placed into voluntary liquidation in the Cayman Islands by
its shareholders. Thereafter, Ascentra was placed into official liquidation pursuant to an order
issued by the Grand Court of the Cayman Islands (the “Cayman Proceeding”). The Liquidators


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were duly appointed joint official liquidators of Ascentra in the Cayman Proceeding, which is
pending in the Grand Court.

        On October 27, 2021, the Liquidators sought relief under Chapter 15 of the Bankruptcy
Code. Shortly thereafter, the Liquidators sought immediate relief to extend the automatic stay to
funds held in a payment processing account maintained by Planet Payment Solutions LLC
(“Planet Payment”) in the name of SPGK. The Court granted the relief after resolution of SPGK’s
limited objection. On December 6, 2021, the Court entered an order that recognized the Cayman
Proceeding (the “Recognition Order”).

       Following entry of the Recognition Order, the Foreign Representatives commenced
discovery to obtain documents and information from, among others, Planet Payment, Ever
Innovation Inc (“EII”) (which provided website development and consulting services to Ascentra
from February 1, 2017 to August 31, 2021), Masami Nakano (“Ms. Nakano”), CEO of EII, and
James Koshimoto, CTO of EII.

        Planet Payment produced three sets of documents, containing communications and other
information necessary to assess changes made in the accounts, and to trace where and to whose
benefit incoming funds were transferred. The Foreign Representatives also received a first set of
documents from EII. Since then, counsel have conferred regarding the production of additional
communications and documents from EII. Discussions and negotiations are ongoing. Additionally,
we are conferring with counsel for Ms. Nakano to schedule a voluntary interview. The Liquidators
have already conducted interviews of various parties, with Ms. Nakano being one of the last initial
interviews to be conducted.

       Earlier this year, the Foreign Representatives filed an application for recognition of the
Cayman Proceeding in Singapore. The High Court of Singapore denied the Foreign
Representatives’ application, which decision has been appealed. The Liquidators anticipate that
the Court of Appeal of Singapore will hold a hearing on the appeal in the first quarter of 2023.

        The Foreign Representatives and their counsel are continuing to review and analyze the
Planet Payment production as well as continue to analyze the EII documents that were turned over
to the Liquidators.

                                             Respectfully submitted,

                                             /s/ John A. Pintarelli
                                             John A. Pintarelli
                                             Partner




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